             Case 3:24-bk-00496-BAJ           Doc 8     Filed 02/27/24      Page 1 of 2




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

IN RE: GENIE INVESTMENTS NV, INC.
                                                               CASE NO.: 3:24-bk-00496-BAJ
               Debtor (s).

___________________/

     MOTION TO EXTEND TIME TO FILE LOCAL RULE 2081-1 DOCUMENTS,
          SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

       The Debtor in the above case, in accordance with Fed.R.Bankr.P. 9006, moves the Court

to extend the time period to file the required Local Rule 2081-1 Documents, Chapter 11 schedules

and Statement of Financial Affairs, and would state:

       This case was filed on February 21, 2024 as an attempt by the Debtor to attempt to save

it’s lending business. The case was filed as an emergency filing with only the petition and matrices

filed. A complete set of schedules and statement of financial affairs is to be filed within 14 days

of the filing of the Petition. The Debtor is still gathering the records required.

       The Debtor requests an extension of time to file the required 2081-1 documents, schedules

and statement of financial affairs for a period of 30 days from the expiration of the 14 day original

period, or until April 5, 2024.
                  Case 3:24-bk-00496-BAJ           Doc 8   Filed 02/27/24   Page 2 of 2




                                            CERTIFICATE OF SERVICE

            I DO HEREBY CERTIFY that a copy of the foregoing was furnished to the United States

Trustee and all creditors per the attached matrix by CM/ECF filing             this __27____ day of

February 2024.




                                                           Law Offices of Mickler & Mickler, LLP


                                                           By:__/s/ Bryan K. Mickler______
                                                                Bryan K. Mickler
                                                           Florida Bar No. 091790
                                                           Attorney for the Debtor(s)
                                                           5452 Arlington Expressway
                                                           Jacksonville, FL 32211
                                                           (904) 725-0822
                                                           (904) 725-0855 FAX
                                                           bkmickler@planlaw.com



docs\bankrupt\forms\extend time schedules
